     Case 2:21-bk-16403-VZ        Doc 10 Filed 08/16/21 Entered 08/16/21 16:15:01                Desc
                                   Main Document    Page 1 of 15



     MICHAEL JAY BERGER (State Bar # 100291)
 1
     LAW OFFICES OF MICHAEL JAY BERGER
 2   9454 Wilshire Blvd 6th Floor
     Beverly Hills, CA 90212-2929
 3   Telephone:     (310)271-6223
     Facsimile:     (310) 271-9805
     E-mail:       michael .bergerbankruptcypower.corn
 5
     Proposed Counsel for Debtor and Debtor-in-Possession,
 6   Spectrum Link, Inc.

                               UNITED STATES BANKRUPTCY COURT
 8
                                CENTRAL DISTRICT OF CALIFORNIA
 9
10                                     LOS ANGELES DIVISION

11                                                  ) CASENO.: 2:21-bk-16403-VZ
     Inre:                                          )
12                                                  ) Chapter 11
                                                    )
13   SPECTRUM LINK, INC.,                           ) NOTICE OF MOTION AND DEBTOR’S
                                                    ) EMERGENCY MOTION FOR ORDER
14                                                  ) AUTHORIZING PAYMENT OF PRE
             Debtor and Debtor-in-Possession.       ) PETITION WAGES AND RELATED
15                                                  ) EXPENSES; MEMORANDUM OF
                                                    ) POINTS AND AUTHORITIES;
16                                                  ) DECLARATION OF MARILYN M.
                                                    ) ADJANGBA IN SUPPORT THEREOF
17                                                  )
                                                    )       [LBR 208 1-1 and LBR 9075]
18                                                  )
                                                    ) Hearing Scheduled For:
19                                                    Date: August 17, 2021
                                                      Time: 1:00p.m.
20
                                                    ) Place: Courtroom 1368 [remotely via phonel
21                                                  )
                                                    ) Follow Judge Zurzolo’s Appearance by Phone
22                                                    Procedures at
                                                      https://www.cacb.uscourts.gov/judges/honorab
23
                                                    ) le-vincent-p-zurzolo.
24                                                  )
                                                    ) Toll-Free Conference Line: (877) 411-9748
25                                                    Passcode: 5919677
26
             TO THE HONORABLE VINCENT P. ZURZOLO, JUDGE OF THE UNITED
27
     STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA, THE
28

                                                        1
     NOTICE OF MOTION AND DEBTOR’S EMERGENCY MOTION FOR ORDER AUTHORIZING PAYMENT OF PRE-PETITION WAGES
      AND RELATED EXPENSES; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF MARILYN M. ADJANGRA IN
                                              SUPPORT THEREOF
     Case 2:21-bk-16403-VZ              Doc 10 Filed 08/16/21 Entered 08/16/21 16:15:01               Desc
                                         Main Document    Page 2 of 15



 1   OFFICE OF THE UNITED STATES TRUSTEE, TO THE SECURED CREDITORS, TO
 2   THE TWENTY LARGEST UNSECURED CREDITORS, AND TO ALL OTHER
 3   INTERESTED PARTIES AND THEIR COUNSEL OF RECORD:
 4           Spectrum Link, Inc., the Debtor and Debtor-in-Possession (“Debtor”) will and hereby
 5   does move this Court on an emergency basis for an order authorizing it to issue payments of pre
 6
     petition wages and related expenses (collectively, “Employees’ Compensation”) for the payroll
 7
     period of July 25, 2021 to August 8, 2021’ due on August 16, 2021, and also seeks approval for
 8
     August 9, 2021     —   August 1 1, 2021 pre-petition days, which payroll will be issued on August 31,
 9
     2021 (the “Motion”).
10
             PLEASE TAKE NOTICE that the hearing on the Motion will take place on August 17,
11
     2021 at 1:00 p.m. in Courtroom 1368 of the above-referenced Bankruptcy Court. Appearances
12
     may be made in person or telephonically. See Judge Zurzolo’s telephonic appearance procedures
13
     on the first page of the Motion.
14
             PLEASE TAKE FURTHER NOTICE that any opposition to the Motion is due no later’
15
16   than 1 1:00 a.m. on August 17, 2021.

17           This Motion is made on the basis of the Motion, the Declaration of Marilyn M. Adjangba,

18   the memorandum of points and authorities, and on such other evidence as the Court elects to

19   consider prior to or at the hearing on this matter.

20           WHEREFORE, the Debtor prays that the Court enter an order granting the relief
21   requested above, and such additional relief as the Court deems just and proper.
22
                                               LAW     FFICES OF MICHAEL JAY BERGER

                                               By:4/
23   Dated: 8/16/202 1
24
                                                                           j/

25                                                Mid’hael Jay Berger //
                                                  Proposed Counsel for/I/ebtor and Debtor-in
26                                                Possession, SpectrumLink, Inc.
27
28   1 August 9, 2021 August 11 2021 pay period also falls pre-petition, but the payroll covering the week of
                        —




     August 9, 2021 August 23, 2021 will be issued on August 30, 2021
                    —




                                                          2
     NOTICE OF MOTION AND DEBTOR’S EMERGENCY MOTION FOR ORDER AUTHORIZING PAYMENT OF PRE-PETITION WAGES
      AND RELATED EXPENSES; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF MARILYN M. ADJANGBA IN
                                              SUPPORT THEREOF
     Case 2:21-bk-16403-VZ          Doc 10 Filed 08/16/21 Entered 08/16/21 16:15:01                   Desc
                                     Main Document    Page 3 of 15



 1                   MEMORDANDUM OF POINTS AND AUTHORITIES
 2                                   I.      INTRODUCTION
 3           Spectrum Link, Inc. (“Debtor”) pays the payroll obligations to its (5) employees on a bi

     weekly basis. None of these five employees are insiders of the Debtor. Debtor seeks approval

     for the payroll period of July 25, 2021 to August 8, 20212 due on August 16, 2021 for the hourly
 6
     employees, and pre-petition period of August 1, 2021 to August 15, 2021 for the salaried

     employees. Debtor also seeks approval for August 9, 2021      —   August 11, 2021 pre-petition days
 8
     for the hourly employees, which payroll will be issued on August 31, 2021. The total gross sum
 9
     to be paid to the five (5) employees is $8,248.62. Attached to the Declaration of Marilyn M.
10
     Adjangba (the “Adiangba DecI.”) as Exhibit-i is a spreadsheet of all of the Debtor’s employees

     and the information for the wages owed for the pre-petition period subject to this Motion. In
12
     order to maintain employees’ morale, prevent employees from quitting, and facilitate a
13
     successful reorganization, the Debtor recognizes the need to be able to pay the employees’
14
15   compensation and pre-petition expense reimbursement requests, if any. The Debtor believes that

16   failure to timely pay its Employees’ Compensation will adversely affect its ability to retain its

17   employees and to operate its business, and thereby frustrate its efforts to reorganize.

18           Thus, without this Court’s granting its approval of this Motion, the Debtor will lack

19   authority to make any payments to the workers for Employees’ Compensation, which was earned
20   and accrued pre-petition by the employees. Procedural authorization for an emergency hearing
21   on the Motion is found in Local Bankruptcy Rules 9075 and 208 1-1. The Debtor respectfully
22   submits that, on the facts of this case, emergency relief is both necessary and appropriate such
23   that the Debtor’s employees can get compensated for the work done pre-petition.
24           By this Motion, Debtor seeks authority for payment of the Employees’ Compensation on
25
     the following terms and conditions:
26
27
28   2August 9, 2021 August 11, 2021 pay period also falls pre-petition, but the payroll covering the week o
                        —




     August 9, 2021 August 23, 2021 to hourly employees will be issued on August 30, 2021
                    —




                                                        3
     NOTICE OF MOTION AND DEBTOR’S EMERGENCY MOTION FOR ORDER AUTHORIZING PAYMENT OF PRE-PETITION WAGES
      AND RELATED EXPENSES; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF MARILYN M. ADJANGBA IN
                                              SUPPORT THEREOF
     Case 2:21-bk-16403-VZ          Doc 10 Filed 08/16/21 Entered 08/16/21 16:15:01                 Desc
                                     Main Document    Page 4 of 15



 1                1. Debtor will pay the Employees’ Compensation only to the extent of the
 2                   $13,650.00 priority limit per employee provided by Sections 507(a)(4) and 104 of
 3                   the Bankruptcy Code. An estimate of such wage claims is attached as Exhibit “1”

                     to the Adjangba Declaration.

                  2. The Employees’ Compensation will be paid to Employees who continue to be
 6
                     employed by Debtor as of the date of the hearing on this Motion.

             Debtor believes that paying the Employees’ Compensation as described hereinabove is
 8
     necessary to protect and preserve Debtor’s business and will not impair the rights of any
 9
     creditors in the case.
10
                                    II.   GENERAL BACKGROUND FACTS
11
             A. General Description of the Debtor
12
             Spectrum Link, Inc. was started in October 2013 by Bernard S. Mayfield, who passed
13
     away in April 2021 from Covid- 19. Debtor is a leading internet service provider that offers
14
15   custom internet services throughout the country, including unique temporary broadband service

16   to those requiring temporary internet connections. It also provides installation services in many

17   of the places that “wired” providers cannot reach, and its superior broadband service is backed

18   by the fact installation process and copper-free wireless infrastructure. Debtor offers its

19   customers a 24/7 care. Spectrum Link offers registered broadband link-owners 100%
20   independent ownership of their broadband license, links and equipment.
21      B. Events Precipitating the Chapter 11 Bankruptcy Filing
22           The major event that precipitated the filing of Debtor’s Chapter 11 bankruptcy case was
23   the passing of Mr. Mayfield in April 2021, as a result of which the Debtor’s operation was
24   negatively impacted, resulting in Debtor’s inability to pay the monthly obligations to various
25
     tower owners pursuant to the licensing agreements, the monthly obligations for the office space,
26
     among others.
27
            ///
28
            /1/
                                                      4
     NOTICE OF MOTION AND DEBTOR’S EMERGENCY MOTION FOR ORDER AUTHORIZING PAYMENT OF PRE-PETITION WAGES
      AND RELATED EXPENSES; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF MARILYN M. ADJANGBA IN
                                              SUPPORT THEREOF
     Case 2:21-bk-16403-VZ              Doc 10 Filed 08/16/21 Entered 08/16/21 16:15:01                 Desc
                                         Main Document    Page 5 of 15



 1       C. Prospects of Reorganization
 2           The Covid-19 pandemic has negatively impacted the country’s economy and devastated
 3   certain sectors of the economy. Debtor’s operations have been impacted by the pandemic as well.

     Debtor’s principal, Mr. Mayfield passed away in April 2021 from Covid-19. However, Debtor is

     confident that it can emerge as a reorganized Debtor. It has a number of contractors lined up and
 6
     is confident that it can obtain more contracts to generate the funds necessary to propose a

     feasible reorganization plan.
 8
 9                                               III. ARGUMENT
10
                   A. This Court Is Authorized To Allow The Debtor To Pay The Employee
11                                              Compensation

12           Section 105(a) of the United States Bankruptcy Code empowers the Court to issue any

13   order, process, or judgment that is necessary or appropriate to carry out the provisions of the

14   Bankruptcy Code. 11 U.S.C.         § 105. The basic purpose of Section 105(a) is “to enable the court to
15   do whatever is necessary to aid in its jurisdiction, in anything arising in or relating to a
16   bankruptcy case.” 2 Collier on Bankruptcy        ¶ 105.02 at 105-4 (15th ed. 1988). Essentially,
17   Section 105(a) codifies the bankruptcy court’s inherent equitable powers. See, In re Feit &
18   Drexier, Inc., 760 F.2d 406 (2d Cir. 1985).
19
            Section 507(a)(4) of the Bankruptcy Code provides, in pertinent part, as follows:
                   .




20          (a) The following expenses and claims have priority in the following ordet
            (4) Fourth, allowed unsecured claims, but only to the extent of $12,475 [now $13,650.00]
21          for each individual     earned within 180 days before the date of the filing of the petition
                                  ...




22           ...for--
            (A) wages, salaries, or commissions, including vacation, severance, and sick leave pay
23   earned by an individual;
24           11 U.S.C.   § 507(a)(3).
25          As set forth above, Section 507(a)(4) affords priority status to unsecured claims for
26   wages, salaries or commissions, including vacation, severance, and sick leave pay earned by an
27   individual within 180 days before the filing of a bankruptcy petition to the extent of $13,650.00
28   for each such individual.
                                                           5
     NOTICE OF MOTION AND DEBTOR’S EMERGENCY MOTION FOR ORDER AUTHORIZING PAYMENT OF PRE-PETITION WAGES
      AND RELATED EXPENSES; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF MARILYN M. ADJANGBA IN
                                              SUPPORT THEREOF
     Case 2:21-bk-16403-VZ            Doc 10 Filed 08/16/21 Entered 08/16/21 16:15:01              Desc
                                       Main Document    Page 6 of 15



 1           Bankruptcy courts have authorized debtors to pay pre-petition priority wage claims as a
 2   means of allowing debtors to maintain their work force and thereby preserve the debtor’s ability
 3   to operate in the ordinary course, without the disruption of employee defections.
 4
 5           “In the early days of this case, the court entered orders permitting the post- petition
             payment of certain pre-petition wage and wage-related claims. As is often the case in
 6           operating Chapter 11 cases, the court did this for two reasons. First, it was necessary that
             Braniff pay its employees for work performed pre-petition if the employees were to
 7
             remain on the job post- petition. The filing of a bankruptcy case presents many
 8           uncertainties for employees. If their pay is interrupted, employees are obviously not
             going to remain on the job despite the fact that their continuation in place is vitally
 9           important for the debtor.
10                   Second, in any event, the pre-petition wages are subject to the priority of Section
             507(a)(3). Thus, in all but the direst of circumstances, the debtor will ultimately pay the
11           pre-petition wages because of their very high priority. Accordingly, the court authorizes
             their payment early in the case rather than requiring that the employees wait for payment
12           at the end of the case.”
13   In re Braniff Inc., 218 B.R. 628, 633 (Bankr.M.D.Fla. 1998). See also Columbia Gas, 171 B.R.
14   189, 191-92 (Bankr. D. Del. 1994); In re Lehigh & New EnglandRy. Co., 657 F. 2d 570, 581
15   (3rd Cir. 1981); Ionosphere Club, 98 B.R. 175 (Bankr. S.D.N.Y. 1989). In re Structurlite
16
     Plastics Corp., (Structurlite     86 Bankr. 922, 932 (Bankr. S.D. Ohio 1988), citing In re
17
     Chateaugay Corp., 80 Bankr. 279, 287 (S.D.N.Y. 1987); See also In re Columbia Packing Co.,
18
     35 Bankr. 447 (Bankr. D. Mass. 1983).
19
            “Because wages are priority claims, courts have often permitted debtors to pay
20
            prepetition wage claims in the ordinary course in response to a motion filed by a debtor in
21          possession at the commencement of a chapter 11 case. The ability to ensure that the
            employees receive their unpaid prepetition salary and do not miss a paycheck is critical to
22          obtaining the stability necessary for the transition to operating as a debtor in possession.”
23
     Collier on Bankruptcy   -   15th ed. Revised,   ¶ 507.05[1]   (2000).
24
            The authority to make such payments was recognized by the Ninth Circuit in In re
25
     Adams Apple, Inc., 829 F.2d 1484 (9th Cir. 1987):
26
            “[Ajnother “fundamental tenet”--rehabilitation of debtors, which may supersede the
27
            policy of equal treatment. Cases have permitted unequal treatment of pre-petition debts
28          when necessary for rehabilitation, in such contexts as (i) pre-petition wages to key
            employees; (ii) hospital malpractice premiums incurred prior to filing; (iii) debts to
                                                     6
     NOTICE OF MOTION AND DEBTOR’S EMERGENCY MOTION FOR ORDER AUTHORIZING PAYMENT OF PRE-PETITION WAGES
      AND RELATED EXPENSES; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF MARILYN M. ADJANGRA TN
                                              SUPPORT THEREOF
         Case 2:21-bk-16403-VZ          Doc 10 Filed 08/16/21 Entered 08/16/21 16:15:01                 Desc
                                         Main Document    Page 7 of 15



                providers of unique and irreplaceable supplies; and (iv) peripheral benefits under labor
 1
                contracts. See Ordin, Case Comment, In re Texion Corporation, 596 F.2d 1092 (2d
 2              Cir.1979): Finality of Order of Bankruptcy Court, 54 Amer.Bankr.L.J. 173, 177 (1980).
                   [I]t illustrates a Congressional willingness to subordinate the interests of pre-petition
 3              creditors to the goal of rehabilitation.”
 4   Adams Apple, 829 F.2d at 1490.
 5              In this case, without an order of this Court authorizing the Debtor to pay the pre-petition
 6   Employees’ Compensation, there will be a severe risk that employees will leave the Debtor,

     thereby jeopardizing the Debtor’s ability to maintain its operations and reorganize its financial
 8
     affairs.
 9
           B. Debtor’s Relief is Justified on LBR 9075-1(a) and LBR 2081-1
10
     “[11:391] PRACTICE POINTERS: Critical Workers may leave unless they are paid on a
     regular basis. Thus, unless the motion is promptly filed and granted, the DIP’s continued
12   operations may be at risk. Consider the following:
13   • Coordinate petition filing with payroll due date: Time commencement of the bankruptcy case
14   so that it is filed immediately after the workers are paid their weekly/biweekly wages. Or, have
     the debtor issue a special payroll so that all prepetition wages are paid on the filing date.
15
     • Request prepetition payroll checks to be honored by banks post-petition: Where workers were
16
     paid prepetition wages by prepetition checks that have not been cashed by the time the case is
17   filed, move the court for an order that the DIP’s bank may honor the checks postpetition.”

18   Cal. Prac. Guide Bankruptcy Ch. 11-B.

19              Furthermore, pursuant to Local Bankruptcy Rule 2081-1 (a)(6), the Motion must be

20   supported by evidence that establishes: (A) The employees are still employed; (B) The necessity

21   for payment; (C) The benefit of the procedures; (D) The prospect of reorganization; (E) Whether
22   the employees are insiders; (F) Whether the employees’ claim are within the limits established
23   by 11 U.S.C.     §   507; and (G) The payment will not render the estate administratively insolvent.
24   Debtor addresses each of these factors if not previously discussed above.
25         (a) Employees are Still Employed
26
                All the employees that are identified on Exhibit “1” are still employed by the
27
     Debtor.
28
           (b) The Necessity of the Payment and (c) The Benefit of the Procedures
                                                          7
     NOTICE OF MOTION AND DEBTOR’S EMERGENCY MOTION FOR ORDER AUTHORIZING PAYMENT OF PRE-PETITION WAGES
      AND RELATED EXPENSES; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF MARILYN M. ADJANGBA IN
                                              SUPPORT THEREOF
     Case 2:21-bk-16403-VZ          Doc 10 Filed 08/16/21 Entered 08/16/21 16:15:01                  Desc
                                     Main Document    Page 8 of 15



 1           As the Adjangba Declaration establishes, Debtor depends on its staff to carry on the day-
 2   to-day operations of the Debtor who in turn rely on the Debtor to support themselves and/or their
 3   families and are unlikely to continue working for the Debtor, if not paid. The Debtor’s business

     is run, managed, and operated by its employees at the present time. These employees help with

     the day-to-day operation of the business, which includes providing installation and supervision

     labor. These employees are an essential part of the Debtor’s day-to-day operation. Without

     them, the Debtor cannot operate.
 8
             It is the Debtor’s opinion that payment of pre-petition wages is necessary to enable the
 9
     workers to pay their personal living expenses, and to retain their goodwill and prospective
10
     services. In contrast, if such wages are not immediately paid, the Debtor believes that some of

     the employees will terminate their employment with the Debtor and seek other employment
12
     opportunities. If this occurs, revenue levels will decline precipitously, especially if the Debtor’s
13
     employees quit, reducing the value of the estate’s assets and impairing the rights of creditors. In
14
15   contrast, if immediate relief is granted as prayed herein, asset values will be preserved. Under

16   these circumstances, granting relief on an emergency basis is both necessary and appropriate.

17      (d) Prospects of Reorganization

18          Debtor is confident that it can emerge as a reorganized Debtor. It has a number of

19   contractors lined up and is confident that it can obtain more contracts to generate the funds
20   necessary to propose a feasible reorganization plan.
21       (e) Whether The Employees Are Insiders
22           None of the employees identified on Exhibit “1” are insiders of the Debtor. Marilyn
23   M. Adjangba, who is the Debtor’s Chief Executive Officer, is an insider of the Debtor. Ms.
24   Adjangba is a 1099 independent contractor, who receives a monthly gross compensation of
25
     $4,000, which is paid bi-weekly at $2,000. Mr. Adjangba does not have any other source of
26
     income. She will follow the compensation guidelines under Local Bankruptcy Rule 2014-l(a)(3)
27
     before she is permitted to receive any compensation from the Debtor.
28

                                                       8
     NOTICE OF MOTION AND DEBTOR’S EMERGENCY MOTION FOR ORDER AUTHORIZING PAYMENT OF PRE-PETITION WAGES
      AND RELATED EXPENSES; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF MARILYN M. ADJANGBA TN
                                              SUPPORT THEREOF
     Case 2:21-bk-16403-VZ         Doc 10 Filed 08/16/21 Entered 08/16/21 16:15:01                  Desc
                                    Main Document    Page 9 of 15




 1        (f) Whether the Employees’ Claims are Within the Limits Established by 11 U.S.C.
 2
 3          As outlined in Exhibit “1”, and attached hereto, each employee’s claims are below the

     limits established by 11 U.s.c.   §   507. See Exhibit “1” attached to Adjangba Declaration.

          (g) The Payment Will Not Render The Estate Administratively Insolvent.
 6
            Debtor has sufficient funds on hand to pay its employees. Debtor currently has a balance
 7
     of approximately $8,000 and expects to receive approximately $3,000 to $5,000 by tomorrow,
 8
     August 17, 2021.
 9
                                                 IV. CONCLUSION
10
            Based upon the foregoing, Debtor respectfully requests that the Court grant the relief
11
     prayed for herein.
12
13
     Dated: 8/16/2021                         LAW OFFICES OF MICHAEL JAY BERGER

15
                                              By:
16                                                  Mi’hae1 Jay Berger    //
                                                    Proposed Counsel for JYefor and Debtorin
17                                                  Possession, Spectrum ILjk, Inc.
18
19
20
21
22
23
24
25
26
27
28

                                                         9
     NOTICE OF MOTION AND DEBTOR’S EMERGENCY MOTION FOR ORDER AUTHORIZING PAYMENT OF PRE-PETITION WAGES
      AND RELATED EXPENSES; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF MARILYN M. ADJANGBA IN
                                              SUPPORT THEREOF
     Case 2:21-bk-16403-VZ         Doc 10 Filed 08/16/21 Entered 08/16/21 16:15:01                   Desc
                                   Main Document    Page 10 of 15



 1                         DECLARATION OF MARILYN M. ADJANGBA
 2          I, Marilyn M. Adjangba, declare and state as follows:
 3           1.      I am the Chief Executive Officer of Spectrum Link, Inc., the debtor and debtor-in-

     possession in the above-captioned matter (the “Debtor” or the “Firm”). I have personal

     knowledge of the facts set forth below and if called to testify as to those facts, I could and would
 6
     competently do so.

            2.       I make this declaration in support of Debtor’s Emergency Motion for Order
 8
     Authorizing Interim Use of Cash Collateral (the “Motion”).
 9
             3.      Spectrum Link, Inc. was started in October 2013 by Bernard S. Mayfield, who
10
     passed away in April 2021 from Covid-19. Debtor is a leading internet service provider that
     offers custom internet services throughout the country, including unique temporary broadband
12
     service to those requiring temporary internet connections. It also provides installation services in
13
     many of the places that “wired” providers cannot reach, and its superior broadband service is
14
     backed by the fact installation process and copper-free wireless infrastructure. Debtor offers its
15
16   customers a 24/7 care. Spectrum Link offers registered broadband link-owners 100%

17   independent ownership of their broadband license, links and equipment.

18          4.       The major event that precipitated the filing of Debtor’s Chapter 11 bankruptcy

19   case was the passing of Mr. Mayfield in April 2021, as a result of which the Debtor’s operation
20   was negatively impacted, resulting in Debtor’s inability to pay the monthly obligations to various
21   tower owners pursuant to the licensing agreements, the monthly obligations for the office space,
22   among others.
23          5.       The Covid-19 pandemic has negatively impacted the country’s economy and
24   devastated certain sectors of the economy. Debtor’s operations have been impacted by the
25
     pandemic as well. Debtor’s principal, Mr. Mayfield passed away in April 2021 from Covid-19.
26
     However, Debtor is confident that it can emerge as a reorganized Debtor. It has a number of
27
     contractors lined up and is confident that it can obtain more contracts to generate the funds
28
     necessary to propose a feasible reorganization plan.
                                                     10
     NOTICE OF MOTION AND DEBTOR’S EMERGENCY MOTION FOR ORDER AUTHORIZING PAYMENT OF PRE-PETITION WAGES
      AND RELATED EXPENSES; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF MARILYN M. ADJANGBA IN
                                              SUPPORT THEREOF
     Case 2:21-bk-16403-VZ           Doc 10 Filed 08/16/21 Entered 08/16/21 16:15:01                 Desc
                                     Main Document    Page 11 of 15



 1           6.        A true and correct list of Debtor’s employees is attached hereto as Exhibit-i. All
 2   the employees that are identified on Exhibit “1” are still employed by the Debtor.
 3           7.        Debtor depends on its staff to carry on the day-to-day operations of the Debtor

     who in turn rely on the Debtor to support themselves and/or their families and are unlikely to

     continue working for the Debtor, if not paid. The Debtor’s business is run, managed, and
 6
     operated by its employees at the present time. These employees help with the day-to-day

     operation of the business, which includes providing installation and supervision labor. These
 8
     employees are an essential part of the Debtor’s day-to-day operation. Without them, the Debtor
 9
     cannot operate.
10
             8.     It is the Debtor’s opinion that payment of pre-petition wages is necessary to

     enable the workers to pay their personal living expenses, and to retain their goodwill and
12
     prospective services. In contrast, if such wages are not immediately paid, the Debtor believes
13
     that some of the employees will terminate their employment with the Debtor and seek other
14
     employment opportunities. If this occurs, revenue levels will decline precipitously, especially if
15
16   the Debtor’s employees quit, reducing the value of the estate’s assets and impairing the rights of

17   creditors. In contrast, if immediate relief is granted as prayed herein, asset values will be

18   preserved. Under these circumstances, granting relief on an emergency basis is both necessary

19   and appropriate.
20          9.      Debtor is confident that it can emerge as a reorganized Debtor. It has a number of
21   contractors lined up and is confident that it can obtain more contracts to generate the funds
22   necessary to propose a feasible reorganization plan.
23           10.    None of the employees identified on Exhibit “1” are insiders of the Debtor.
24   I am the Debtor’s Chief Executive Officer and an insider of the Debtor. I am a 1099 independent
25
     contractor and receive a monthly gross compensation of $4,000, which is paid bi-weekly at
26
     $2,000. I do not have any other source of income. I will follow the compensation guidelines
27
     under Local Bankruptcy Rule 2014-1(a)(3) before I am permitted to receive any compensation
28
     from the Debtor.
                                                        11
     NOTICE OF MOTION AND DEBTOR’S EMERGENCY MOTION FOR ORDER AUTHORIZING PAYMENT OF PRE-PETITION WAGES
      AND RELATED EXPENSES; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF MARILYN M. ADJANGBA TN
                                              SUPPORT THEREOF
Case 2:21-bk-16403-VZ                       Doc 10 Filed 08/16/21 Entered 08/16/21 16:15:01                                   Desc
                                            Main Document    Page 12 of 15




                              Each employee pre—petition wage claim              is   below the limits established by II
 1
     I
 2       U.S.C.     507.
 3                12.         Debtor has suttcien[ funds on hand to pay its employees. Debtor currently has a

         hilance ol’ approximately S,00() and expects to recetyc approximately S3,000 to S5.000 by

         tomorrow.      .   ugust I 7. 202 I.
 6
                  I declare tinder penalty of perjury that the foregoing is true and correct and that this
 7
         declaration is executed on August I 6. 202 I in Downey, (‘ali t’ornia.
 8
 9

10                                                                               ‘EEE.__
                                                   MarilvnM .Adangha
11                                                 Chief Lxccutive Officer of Spectim Link. Inc.
12

13

14

15

16

17

18
19




22




25
26

27

28

                                                                    12
                                                                                                  PAMENT OF PRE•t’Enn(
          NOTICE OF MOTR)N AND DEII1OR ,S t:51itO1O \4 )TION FOR ORDER .\LT1 totuzixu
           tNt) Rii_.\ I [0 iXI’i—\SLS: \1h\iOR-\\i)iiM UI i’oixis .\Ni) A0 FHORITILS.
                                                                                       i>t-(LARA1 ION 01 \IARIL\ \1 ADJ.\NHH,\ ix
                                                                                                               ‘



                                                            S1Ji’i’URF   IlIRI
Case 2:21-bk-16403-VZ   Doc 10 Filed 08/16/21 Entered 08/16/21 16:15:01   Desc
                        Main Document    Page 13 of 15




                            EXHIBIT-i
  Case 2:21-bk-16403-VZ          Doc 10 Filed 08/16/21 Entered 08/16/21 16:15:01                  Desc
                                 Main Document    Page 14 of 15


Run Payroll: Twice a Month #3

Review and Submit

                                     I $3,941.32
                                       NET PAY


$5,291.30
TOTAL PAYROLL COST
                                     I EMPLOYEE



                                     f $376.01
                                       EMPLOYER


        Employees will be paid by direct deposit, but the payment will be received on Tuesday, Aug 1 7
        instead of Monday, Aug 16. Switch to paper checks?




                                   Pay                                          Pay date: Monday, Aug 16


  EMPLOYEE     PAY METHOD      TOTAL HOURS       TOTAL PAY   EMPLOYEE TAXES         NETPAY          COMPARET


 Ashford,      Direct                                                              $935.90
                                      86.67      $1,200.00           $264.10
 Aaron A       deposit

 Nieto,        Direct
                                      74.40      $1,502.17           $319.32     $1,182.85
 Angel         deposit

 Torres,       Direct                                                            $1,822.57
                                      88.03      $2,213.12           $390.55
 Fernando      deposit


 TOTAL                               249.10      $4,915.29           $973.97     $3,941.32




                                              Preview payroll

  Bck                                                                                 Submit payroll
                                                   details
    Case 2:21-bk-16403-VZ        Doc 10 Filed 08/16/21 Entered 08/16/21 16:15:01           Desc
                                 Main Document    Page 15 of 15


Run Payroll: Twice a Month correct         -




Review and Submit

                                    I $2,770.79
                                     NET PAY


$3,588.32                           I $562.54
                                     EMPLOYEE
TOTAL PAYROLL COST


                                    I $254.99
                                     EMPLOYER




                                  Pay p: 08/01/2021 to 08/1 4/2021        Pay date: Tuesday, Aug 17


    EMPLOYEE        PAY METHOD    TOTAL HOURS     TOTAL PAY   EMPLOYEETAXES      NET PAY          COMPA


                    Direct
    Lane, Chris                         86.67    $1,250.00          $180.83    $1,069.17
                    deposit

    Trachtenberg,   Direct
                                        86.67     $2,083.33         $381.71    $1,701.62
    Ross            deposit


    TOTAL                             173.33     $3,333.33          $562.54   $2,770.79




                                          Preview payroll

r   Rack
            j                                   details
                                                                                Submit payroll
